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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
_____________________________________________

CAREY SMITH,
                                                        AMENDED
                                 Plaintiff,          SCHEDULING ORDER

                    vs.                              18-CV-6658-DGL-MJP

NEW YORK STATE, CORRECTIONS
OFFICER KYLE KENNEDY in his individual
capacity, CORRECTIONS OFFICER JOHN
CRANCE in his individual capacity, et al.,

                              Defendants.
_____________________________________________

      Counsel for both parties have filed a letter motion (ECF No. 38) dated

September 29, 2020, requesting a six week stay as well as a six week extension of

deadlines following the expiration of the stay, it is hereby

      ORDERED that:

      1. This matter is stayed until November 10, 2020.

      2. All motions to join other parties and to amend the pleadings shall be filed

          on or November 16, 2020.

      3. All factual discovery in this case shall be completed on or before May 17,

          2021. All motions to compel discovery shall be filed by April 16, 2021.

      4. Plaintiffs shall identify any expert witnesses and provide reports

          pursuant to Fed. R. Civ. P. 26 by June 16, 2021.         Defendants shall

          identify any expert witnesses and provide reports pursuant to Fed. R. Civ.
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   P. 26 by July 19, 2021. All parties shall complete all discovery relating to

   experts, including depositions, by September 16, 2021.

5. Dispositive motions, if any, shall be filed no later than December 20,

   2021. Unless a consent to proceed before this Court is filed, such motions

   shall be made returnable before Judge Larimer. Responding papers shall

   be filed no later than January 18, 2022. Reply papers shall be filed no

   later than February 1, 2022.

6. An in-person status conference will be held with the Court at 2310 U.S.

   Courthouse, Rochester, New York on June 2, 2021, at 9:30 a.m. Plaintiff

   is required to attend this conference and if she unable to do so, Plaintiff’s

   counsel is directed to inform the Court in a timely fashion and to provide

   several dates and times on which Plaintiff would be able to attend such

   conference.

7. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

   Local Rule 16 will be held, if necessary, at a date and time to be

   determined by the trial judge after determination of dispositive motions.

   If no dispositive motions are filed, counsel shall immediately contact the

   trial judge so that a trial date status conference can be scheduled.

   At least seven (7) days prior to the trial date status conference, the parties

   shall file a joint case status report setting forth the information described

   below. If the parties disagree as to the information to be provided, the




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   report must set forth their different responses. The joint status report

   shall contain:

      a. Nature of the Case: Set forth a brief description of the action,

         identifying the parties, all counsel of record, the relief requested,

         any affirmative defenses and any relationship the case may have to

         other pending actions.

      b. Motion Practice: Are any motions, dispositive or non-dispositive,

         pending? If so, briefly describe the motion. Explain if additional

         motion practice is necessary before the matter is ready to be tried.

      c. Settlement: Describe the status of settlement negotiations. If the

         parties believe a court supervised settlement/mediation conference

         would be of assistance in resolving the case or narrowing disputed

         issues, please state.

      d. Trial: State whether the case is ready for trial. If not, explain why.

         Set forth an estimate of how long the trial will take and whether

         the case is jury or non-jury.

8. Requests to extend the above cut-off dates may be granted upon written

   application, made prior to the cutoff date, and showing good cause for the

   extension. Application for extensions should be made to the Magistrate

   Judge. Joint or unopposed requests to extend the deadlines set forth in

   this order need not be made by formal motion, but rather may be sought




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         in a letter to the court. Letter requests must detail good cause for the

         extension and propose new deadlines.

    9. The Court requires that should any discovery dispute arise between the

         parties that a letter be sent to the Court detailing the dispute prior to any

         motion practice.

SO ORDERED.

DATED:      September 29, 2020
            Rochester, New York
                                             /s/ Mark W. Pedersen
                                              MARK W. PEDERSEN
                                              United States Magistrate Judge




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